






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00846-CR







David Villarreal, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 3031484, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant's brief was originally due July 3, 2006.  The time for filing was extended
three times on counsel's motion.  On September 20, in granting the third extension, the Court
ordered appellant's appointed attorney, Mr. Walter C. Prentice, to file a brief on appellant's behalf
no later than October 2, 2006.  Counsel did not file a brief as ordered.

The appeal is abated.  The district court shall conduct a hearing to determine whether
the attorney it appointed to represent appellant has abandoned the appeal.  Tex. R. App. P.
38.8(b)(2).  The court shall make appropriate findings, recommendations, and orders.  If necessary,
the court shall appoint substitute counsel who will effectively represent appellant on appeal.  A
record from this hearing, including copies of all findings and orders and a transcription of the court
reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than November 17, 2006.  Rule 38.8(b)(3).



				____________________________________________

				Bea Ann Smith, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Filed:   October 18, 2006

Do Not Publish


